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Fill in this information to identify the case:

United States Bankruptcy Court for the:
                          Southern District of New York
                                          (State)
                                                                                                                                  ☐ Check if this is an
Case number (if known):                                      Chapter       11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   04/16
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Aegean Marine Petroleum Network Inc.


                                                 N/A
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   N/A


4. Debtor’s address                       Principal place of business                                 Mailing address, if different from principal place
                                                                                                      of business
                                          10 Akti Kondili
                                          Number            Street                                    Number         Street


                                                                                                      P.O. Box

                                          Piraeus, Greece 185 45
                                          City                            State      Zip Code         City                         State      Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business

                                          County                                                      Number         Street




                                                                                                      City                         State      Zip Code




5. Debtor’s website (URL)                 http://www.ampni.com/

6.   Type of debtor                       ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                          ☐ Partnership (excluding LLP)

                                          ☐ Other. Specify:



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Debtor            Aegean Marine Petroleum Network Inc.                                Case number (if known)
           Name



                                               A. Check One:
7.   Describe debtor’s business
                                               ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                               ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                               ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                               ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                               ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                               ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                               ☒ None of the above

                                               B. Check all that apply:

                                               ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                               ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                  § 80a-3)

                                               ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                               C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                  http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                               4247 (Petroleum and Petroleum Products Merchant Wholesalers)

8. Under which chapter of the                  Check One:
   Bankruptcy Code is the
   debtor filing?                              ☐ Chapter 7

                                               ☐ Chapter 9

                                               ☒ Chapter 11. Check all that apply:

                                                                 ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                   insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                                   4/01/19 and every 3 years after that).

                                                                 ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                   debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                   of operations, cash-flow statement, and federal income tax return, or if all of these
                                                                   documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                                 ☐ A plan is being filed with this petition.

                                                                 ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                                   creditors, in accordance with 11 U.S.C. § 1126(b).

                                                                 ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                   Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                   Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                                   Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                                 ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                   12b-2.

                                               ☐ Chapter 12
9. Were prior bankruptcy cases            ☒ No
   filed by or against the debtor         ☐ Yes.      District                           When                      Case number
   within the last 8 years?                                                                       MM/DD/YYYY
     If more than 2 cases, attach a                   District                           When                      Case number
     separate list.                                                                               MM/DD/YYYY

10. Are any bankruptcy cases               ☐ No
    pending or being filed by a                                                                                    Relationship     Affiliate
                                           ☒ Yes.     Debtor      See Rider 1
    business partner or an
    affiliate of the debtor?                          District    Southern District of New York
     List all cases. If more than 1,                                                                               When             11/06/2018
     attach a separate list.                         Case number, if known _______________________                                  MM / DD / YYYY

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Debtor           Aegean Marine Petroleum Network Inc.                              Case number (if known)
          Name



11. Why is the case filed in this      Check all that apply:
    district?
                                       ☐    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.

                                       ☒    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have        ☒ No
    possession of any real             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                 ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                       safety.
                                                       What is the hazard?

                                                 ☐     It needs to be physically secured or protected from the weather.

                                                   ☐   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).

                                                 ☐     Other


                                                 Where is the property?
                                                                                      Number          Street



                                                                                      City                                  State       Zip Code



                                                 Is the property insured?

                                                 ☐ No

                                                 ☐ Yes.     Insurance agency
                                                            Contact name
                                                            Phone




                       Statistical and administrative information

13. Debtor's estimation of            Check one:
    available funds
                                      ☒ Funds will be available for distribution to unsecured creditors.
                                      ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of               ☐     1-49                       ☐     1,000-5,000                        ☐    25,001-50,000
    creditors (on a                   ☐     50-99                      ☒     5,001-10,000                       ☐    50,001-100,000
    consolidated basis)
                                      ☐     100-199                    ☐     10,001-25,000                      ☐    More than 100,000
                                      ☐     200-999



15. Estimated assets (on a            ☐     $0-$50,000                 ☐     $1,000,001-$10 million              ☐   $500,000,001-$1 billion
    consolidated basis)               ☐     $50,001-$100,000           ☐     $10,000,001-$50 million             ☒   $1,000,000,001-$10 billion
                                      ☐     $100,001-$500,000          ☐     $50,000,001-$100 million            ☐   $10,000,000,001-$50 billion
                                      ☐     $500,001-$1 million        ☐     $100,000,001-$500 million           ☐   More than $50 billion




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Debtor           Aegean Marine Petroleum Network Inc.                                Case number (if known)
          Name



16. Estimated liabilities (on        ☐      $0-$50,000                   ☐    $1,000,001-$10 million                 ☒   $500,000,001-$1 billion
    a consolidated basis)            ☐      $50,001-$100,000             ☐    $10,000,001-$50 million                ☐   $1,000,000,001-$10 billion
                                     ☐      $100,001-$500,000            ☐    $50,000,001-$100 million               ☐   $10,000,000,001-$50 billion
                                     ☐      $500,001-$1 million          ☐    $100,000,001-$500 million              ☐   More than $50 billion

                  Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of         petition.
    debtor
                                         I have been authorized to file this petition on behalf of the debtor.
                                         I have examined the information in this petition and have a reasonable belief that the information is true and
                                         correct.

                                I declare under penalty of perjury that the foregoing is true and correct.

                                         Executed on            11/06/2018
                                                              MM/ DD / YYYY


                                              /s/ Spyridon Fokas                                                 Spyridon Fokas
                                              Signature of authorized representative of debtor                Printed name

                                              Title    Authorized Signatory




18. Signature of attorney                     /s/ Jonathan S. Henes                                          Date        11/06/2018
                                              Signature of attorney for debtor                                           MM/ DD/YYYY



                                              Jonathan S. Henes
                                              Printed name
                                              Kirkland & Ellis LLP
                                              Firm name
                                              601 Lexington Avenue
                                              Number               Street
                                              New York                                                               New York          10022
                                              City                                                                   State               ZIP Code
                                              (212) 446-4800                                                         jonathan.henes@kirkland.com
                                              Contact phone                                                               Email address
                                              2822203                                             New York
                                              Bar number                                          State




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 Fill in this information to identify the case:
 United States Bankruptcy Court for the:
                           Southern District of New York
                                         (State)                                                               ☐ Check if this is an
 Case number (if known):                                    Chapter     11                                         amended filing

                                                     Rider 1
                      Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor
        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in the United
States Bankruptcy Court for the Southern District of New York for relief under chapter 11 of title 11 of the United
States Code. The Debtors have moved for joint administration of these cases under the case number assigned to
the chapter 11 case of Aegean Marine Petroleum Network Inc.

 Aegean Marine Petroleum Network                   Aegean (Fujairah) Bunkering S.A.   Aegean Ace Maritime Company
 Inc.
 Aegean Agency (Gibraltar) Limited                 Aegean Breeze Maritime Company     Aegean Bunkering (Gibraltar)
                                                                                      Limited
 Aegean Bunkering (Hong Kong)                      Aegean Bunkering (Jamaica)         Aegean Bunkering (Singapore) Pte.
 Limited                                           Limited                            Ltd.
 Aegean Bunkering (Trinidad) Ltd.                  Aegean Bunkering (USA) LLC         Aegean Bunkering Combustibles
                                                                                      Las Palmas S.A.
 Aegean Bunkering Morocco SARL                     Aegean Bunkering Services Inc.     Aegean Caribbean Holdings, Inc.
 AU
 Aegean Gas Maritime Company                       Aegean Holdings S.A.               Aegean Investments S.A.
 Aegean Maistros Maritime                          Aegean Management Services M.C.    Aegean Marine Petroleum S.A.
 Company
 Aegean Oil (USA), LLC                             Aegean Oil Terminal Corporation    Aegean Petroleum International Inc.
 Aegean Ship III Maritime Company                  Aegean Ship VIII Maritime          Aegean Ship XII Maritime Company
                                                   Company
 Aegean Shipholdings Inc.                          Aegean Tankfarms Holdings S.A.     Aegean Tanking S.A.
 Aegean Tiffany Maritime Company                   Aegean VII Shipping Ltd.           Amorgos Maritime Inc.
 AMPN USA, LLC                                     AMPNI Holdings Co. Limited         AMPNI Investments Co. Limited
 Andros Marine Limited                             Benmore Services S.A.              Caribbean Renewable Energy
                                                                                      Sources Inc.
 Cephallonia Marine S.A.                           Dilos Marine Inc.                  Eton Marine Ltd.
 Halki Navigation S.A.                             I.C.S. Petroleum (Montreal) Ltd.   I.C.S. Petroleum Ltd.
 Ingram Enterprises Co.                            Ios Marine Inc.                    Ios Shipping Ltd
 Ithaki Marine S.A.                                Kassos Navigation S.A.             Kerkyra Marine S.A.
 Kimolos Maritime Inc.                             Kithnos Maritime Inc.              Kythira Marine S.A.
 Lefkas Marine S.A.                                Maistros Roro Shipholdings Ltd.    Milos Shipping (Pte.) Ltd.
 Mykonos I Maritime Limited                        Nevado Navigation S.A.             Ostria Roro Shipholdings Ltd.
 Paros Maritime Inc.                               Paxoi Marine S.A.                  Santon Limited
 Santorini I Maritime Limited                      Sealand Navigation Inc.            Serifos Maritime Inc.
 Serifos Shipping (Pte.) Ltd.                      Sifnos Marine Inc.                 Symi Navigation S.A.
 Tasman Seaways Inc.                               Tempest Shiptrade Ltd              Tilos Shipping (Pte.) Ltd.
 Tinos Marine Inc.                                 West Coast Fuel Transport Ltd.     Zakynthos Marine Limited
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     Fill in this information to identify the case:

     Debtor name          Aegean Marine Petroleum Network Inc., et al.

     United States Bankruptcy Court for                                                                                                ☐
     the:                                         Southern District of New York                                                                      Check if this is an
     Case number (If                                                                                                                                 amended filing
                                                                                             (State)
     known):




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                                         12/15

    A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not
    include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured
    claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest unsecured claims.

                                                                                                                                                      Amount of claim
                                                                                                 Nature of claim                          If the claim is fully unsecured, fill in only
                                                                                                                                       unsecured claim amount. If claim is partially
                                                                                                  (for example,         Indicate if         secured, fill in total claim amount and
                                                                                                   trade debts,          claim is       deduction for value of collateral or setoff to
     Name of creditor and complete mailing            Name, telephone number and email
                                                                                                   bank loans,         contingent,                calculate unsecured claim.
         address, including zip code                     address of creditor contact
                                                                                                   professional       unliquidated,
                                                                                                                                                    1Deduction
                                                                                                  services, and        or disputed      Total
                                                                                                                                                    for value of
                                                                                                   government                         claim, if
                                                                                                                                                     collateral        Unsecured Claim
                                                                                                    contracts)                        partially
                                                                                                                                                      or setoff
                                                                                                                                      secured
                                                                                                                                                          [1]
    4.25% CONVERTIBLE UNSECURED NOTES                 EMAIL –
    DUE 2021                                          TRUSTCORPORATEACTIONS@USBAN
                                                                                                   UNSECURED
1   U.S. BANK NATIONAL ASSOCIATION                    K.COM                                                                                                           $172,500,000
                                                                                                   BOND DEBT
    1000 WALL ST., STE 1600
    NEW YORK, NY 10005
    4.00% CONVERTIBLE UNSECURED NOTES                 ATTN: TRUST AND AGENCY SERVICES
    DUE 2018                                          CORPORATE TEAM DEAL MANAGER
    DEUTSCHE BANK TRUST COMPANY                       EMAIL – PROXY.MUMBAI@DB.COM                  UNSECURED
2                                                                                                                                                                      $94,550,000
    AMERICAS                                                                                       BOND DEBT
    60 WALL ST., MSNYC60-2710
    NEW YORK, NY 10005
                                                      ATTN: JEFFREY C. CAMPBELL, CFO
    AMERICAN EXPRESS TRAVEL RELATED                   EMAIL -
    SERVICES COMPANY, INC.                            KEN.F.PAUKOWITS@AEXP.COM;                        CONTRACT
3                                                                                                                     C/U/D                                            $20,000,000
    ATTN: JEFFREY C. CAMPBELL, CFO                    RICHARD.PETRINO@AEXP.COM                           CLAIM
    200 VESEY STREET                                  PHONE - (212) 640-5130
    NEW YORK, NY 10285                                FAX - (212) 640-0404
                                                      SHANETT BROMFIELD, ARO
    PETROJAM LTD                                      EMAIL -
    ATTN: SHANETT BROMFIELD, ARO                      SHANETT.BROMFIELD@PETROJAM.C
4                                                                                                       TRADE                                                              $3,176,047
    96, MARCUS GARVEY DRIVE                           OM
    P.O. BOX 241                                      PHONE - +(876) 923-8611-5
    KINGSTON, 15, JAMAICA                             FAX - +(876) 923-5698
    BP EUROPA SE                                      MICHAEL SCHMIDT, CEO
    WITTENER STRABE 45                                PHONE - +49 234 315-0
5                                                                                                       TRADE                                                              $1,133,079
    BOCHUM, GERMANY 44789                             FAX - +49 234 315 2679

    AEGEAN OIL SA                                     ANTONIS PAPADAKIS, CEO
    ATTN: ANTONIS PAPADAKIS, CEO                      EMAIL - OPERATION@AEGEANOIL.GR
6   10, AKTI KONDYLI                                  PHONE - +30 210 45 86 000                         TRADE                                                               $475,600
    PIRAEUS, 185 45                                   FAX - +30 210 45 86 245
    GREECE


         1
             The Debtors reserve the right to assert setoff and other rights with respect to any of the claims listed herein.
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                                                                                                                                  Amount of claim
                                                                                 Nature of claim                       If the claim is fully unsecured, fill in only
                                                                                                                    unsecured claim amount. If claim is partially
                                                                                  (for example,      Indicate if         secured, fill in total claim amount and
                                                                                   trade debts,       claim is       deduction for value of collateral or setoff to
      Name of creditor and complete mailing   Name, telephone number and email
                                                                                   bank loans,      contingent,                calculate unsecured claim.
          address, including zip code            address of creditor contact
                                                                                   professional    unliquidated,
                                                                                                                                 1Deduction
                                                                                  services, and     or disputed      Total
                                                                                                                                 for value of
                                                                                   government                      claim, if
                                                                                                                                  collateral        Unsecured Claim
                                                                                    contracts)                     partially
                                                                                                                                   or setoff
                                                                                                                   secured
                                                                                                                                       [1]
     PORT OF FUJAIRAH                         KHALIL EBRAHEIM HASSAN, CFO
     ATTN: KHALIL EBRAHEIM HASSAN, CFO        EMAIL - FIN_POF@FUJAIRAHPORT.AE
     FUJAIRAH PORT ROAD, FUJAIRAH SEA         PHONE - +XX-XXXXXXX
7                                                                                    TRADE                                                           $395,792
     PORT                                     FAX - +XX-XXXXXXX
     FUJAIRAH
     UNITED ARAB EMIRATES
     ANTIPOLLUTION A.N.E.                     IOANNIS KONSTANTINIDIS, VP
     ATTN: IOANNIS KONSTANTINIDIS, VP         EMAIL - INFO@ANTIPOLLUTION.GR
8    57, AKTI MIAOULI                         PHONE - +210 42.92.426-7               TRADE                                                           $375,334
     PIRAEUS                                  FAX - +210 42.92.710
     GREECE
     VANE LINE                                ROBERT DAVIS, MANGER
     ATTN: ROBERT DAVIS, MANAGER              EMAIL -
9    2100 FRANKFURST AVENUE                   IBOOTH@VANEBROTHERS.COM                TRADE                                                           $295,000
     BALTIMORE, MD 21226                      PHONE - (410) 631-8100
                                              FAX - (410) 631-5099
     ORIENT INSURANCE CO. PJSC                OMER HASSAN ELAMIN, PRESIDENT
     ATTN: OMER HASSAN ELAMIN, PRESIDENT      EMAIL -
     ORIENT BUILDING, AL BADIA BUSINESS       OMER.ELAMIN@ALFUTTAIM.COM
                                                                                   INSURANCE
10   PARK                                     PHONE - +971 4253 1300                                                                                 $288,485
                                                                                     CLAIM
     DUBAI FESTIVAL CITY                      FAX - +971 4253 1500
     DUBAI
     UNITED ARAB EMIRATES
     AGAAT                                    ROBERT VAN DER MEIRSSCHE,
     BOTERHAMVAARTWEG 2                       DIRECTOR
11                                                                                   TRADE                                                           $274,999
     ANTWERP, BELGIUM 2030                    FAX - +32 3 544 88 83

     AEGEAN AGENCY LTD                        FIRIPPIS NIKOLAOS, VP
     ATTN: FIRIPPIS NIKOLAOS, VP              EMAIL - AGENCY@AEGEANOIL.COM
12   10, AKTI KONDYLI                         PHONE - +30 210 45 86 000              TRADE                                                           $263,028
     PIRAEUS, 185 45                          FAX - +30 210 45 86 242
     GREECE
     AP OIL PTE LTD                           HO CHEE HON, CEO
     ATTN: HO CHEE HON, CEO                   EMAIL - ENQUIRY@APOIL.COM.SG
13   30 GUL CRESCENT                          PHONE - +65 6861 5503                  TRADE                                                           $213,996
     JURONG, 629535                           FAX - +65 6861 9162
     SINGAPORE
     OILCHART OFFSHORE - OILCHART UK LTD      OWEN WEBBER, MANAGING DIR.
     ATTN: OWEN WEBBER, MANAGING DIR.         EMAIL - OFFSHORE@OILCHART.COM
14   90 LONG ACRE, COVENT GARDEN              PHONE - +44 20 3002 1783               TRADE                                                           $208,340
     LONDON
     UNITED KINGDOM
     ELPE (ELL.PETRELAIA SA)                  FAX: +30 210 63 02 510
15   54, AMALIAS AVENUE                                                              TRADE                                                           $183,394
     ATHENS, GREECE 10558
     GREEN PORTS (GIBRALTAR) LTD              PHONE - +44 1329 825335
     UNIT 5.23, WORLD TRADE CENTRE,           EMAIL – SALES@GREENPORT.COM
16                                                                                   TRADE                                                           $179,800
     GIBRALTAR                                FAX - +44 1329 550192
     GIBRALTAR
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                                                                                                                                  Amount of claim
                                                                                 Nature of claim                       If the claim is fully unsecured, fill in only
                                                                                                                    unsecured claim amount. If claim is partially
                                                                                  (for example,      Indicate if         secured, fill in total claim amount and
                                                                                   trade debts,       claim is       deduction for value of collateral or setoff to
      Name of creditor and complete mailing   Name, telephone number and email
                                                                                   bank loans,      contingent,                calculate unsecured claim.
          address, including zip code            address of creditor contact
                                                                                   professional    unliquidated,
                                                                                                                                 1Deduction
                                                                                  services, and     or disputed      Total
                                                                                                                                 for value of
                                                                                   government                      claim, if
                                                                                                                                  collateral        Unsecured Claim
                                                                                    contracts)                     partially
                                                                                                                                   or setoff
                                                                                                                   secured
                                                                                                                                       [1]
     PEARL MARINE DMCC
     PLATINUM TOWER, 12 CLUSTER I STREET,     PHONE - +97 1436 38721
     JUMEIRAH LAKES TOWERS,                   FAX - +97 1 4362 6346
17                                                                                   TRADE                                                           $170,300
     AL THANYAH 5-393, HADAEQ
     DUBAI
     UNITED ARAB EMIRATES
                                              ANTONIO CASTANEDA, REG. MGR
     ALFASHIP SHIPPING AGENCY S.L.            EMAIL -
     ATTN: ANTONIO CASTANEDA, REG. MGR.       ANTONIO.CASTANEDA@ALFASHIP.CO
18                                                                                   TRADE                                                           $166,573
     C/LEON Y CASTILLO, 367-PISO 1            M
     CANARY ISLANDS                           PHONE -+34 09 2824 7978
     SPAIN                                    FAX - +34 09 2898 0650
     SCHEEPVAARTBEDRIJF ANT. KOREN BV         PHONE - +31 XX-XXXXXXX
     DE NOORDBANK 36                          FAX - +31 XX-XXXXXXX
19                                                                                   TRADE                                                           $160,941
     ROZENBURG (NL)
     THE NETHERLANDS
     MELCO PETROLEUM SA                       PHONE - +30 2105 5380
     AKTI KONDYLI 10                          FAX - +30 2105 5775
20                                                                                   TRADE                                                           $157,336
     PIRAEUS, 18545
     GREECE
     ASM INTERNATIONAL NV                     ATTN: CHARLES DEL PRADO, CEO
     VERSTERKERSTRAAT 8                       PHONE - +31 (0)8810 08569
21                                                                                   TRADE                                                           $136,117
     AP ALMERE, THE NETHERLANDS 1322          FAX - +31 (0)8810 08820

     KYVERNITIS TRAVEL & SHIPPING S.A.
     139 VOULIGMENIS AVENUE                   EMAIL – KYVERNITIS@KYVERNITIS.GR
22   GLYFADA, 16674                           PHONE - +30 21 0900 1100               TRADE                                                           $132,706
     GREECE                                   FAX - +30 21 0900 1100

     DNV GL                                   PHONE - +47 6757 9900
     VERITASVEIEN 1, HOVIK                    EMAIL –
23   HOVIK 1363                               SIGRID.WETTWER@DNVGL.COM               TRADE                                                           $131,591
     NORWAY

     AMERICAN BUREAU OF SHIP. (FOREIGN)       PHONE - 281-877-6000
     ABS PLAZA,NORTHCHASE DRIVE               EMAIL – ABS-WorldHQ@EAGLE.ORG
24                                                                                   TRADE                                                           $131,428
     HOUSTON, TX 16855                        FAX - 281-877-5976

     COLLECTOR OF CUSTOMS                     VELMA RICKETTS WALKER
     15 NEWPORT EAST                          PHONE - 876-922-5140-8
25   KINGSTON                                 EMAIL –                                TRADE                                                           $126,999
     JAMAICA                                  QUICK.RESPONSE@JACUSTOMS.GOV.
                                              JM
     GOVT. OF FUJAIRAH - DEPT.OF INDUSTRY     PHONE - 971-9-333-0555
     & ECONOMY                                EMAIL – MAIL@EGOV.FUJAIRAH.AE
     P.O. BOX 1                               FAX - 971-9-222-0333
26                                                                                   TRADE                                                           $125,000
     FUJAIRAH
     UNITED ARAB EMIRATES
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                                                                                                                                  Amount of claim
                                                                                 Nature of claim                       If the claim is fully unsecured, fill in only
                                                                                                                    unsecured claim amount. If claim is partially
                                                                                  (for example,      Indicate if         secured, fill in total claim amount and
                                                                                   trade debts,       claim is       deduction for value of collateral or setoff to
      Name of creditor and complete mailing   Name, telephone number and email
                                                                                   bank loans,      contingent,                calculate unsecured claim.
          address, including zip code            address of creditor contact
                                                                                   professional    unliquidated,
                                                                                                                                 1Deduction
                                                                                  services, and     or disputed      Total
                                                                                                                                 for value of
                                                                                   government                      claim, if
                                                                                                                                  collateral        Unsecured Claim
                                                                                    contracts)                     partially
                                                                                                                                   or setoff
                                                                                                                   secured
                                                                                                                                       [1]
     PENINSULA PETROLEUM LTD                  PHONE - +353 (0) 668-7330
     2 SHELBOUME BUILDINGS, SHELBOUME         EMAIL -
     ROAD                                     DUBLIN@PENINSULAPETROLEUM.CO
27                                                                                   TRADE                                                           $123,000
     BALLSBRIDGE DUBLIN 4                     M
     REPUBLIC OF IRELAND                      FAX - +353 (0) 668-7331

     TRIDENT NAVIGATION LTD.                  PHONE - 604-696-2992
     10 ORWELL STREET                         EMAIL – INFO@TRIDENTNAV.COM
28   NORTH VANCOUVER, BC V7J 2G1                                                     TRADE                                                           $119,896
     CANADA

     BAYPORT EX PUERTO BAHIA                  PHONE - +34-956-282-807
     POLIGONO INDUSTRIAL TRES CAMINOS,        EMAIL – SPAIN@BAYPORT.EU
     C/LA DORADA, S/N, 11510 PUERTO REAL      FAX - +34-956-2550-454
29   CADIZ ESPANA                                                                    TRADE                                                           $110,526
     PUERTO REAL
     CADIZ 11510 SPAIN

     WILHELMSEN SHIPS SERVICE                 EMAIL -
     ATTN: ZARIFA ISTROU FOUANT BISSARA,      WSS.PIRAEUS@WILHELMSEN.COM
30   CEO                                      PHONE - +30 2104 239100                TRADE                                                           $ 109,495
     100 MOUTSOPOULOU                         FAX - +30 210 4212480
     KAMINIA, PIRAEUS GREECE 18541
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                     RESOLUTION OF THE BOARD OF
         DIRECTORS OF AEGEAN MARINE PETROLEUM NETWORK INC.

                                      November 5, 2018

        Pursuant to the organizational documents of Aegean Marine Petroleum Network Inc. (the
“Company”), the board of directors (the “Board”) of the Company, after reviewing and considering
certain materials provided by the Company’s financial and legal advisors, held a meeting of the
Board on November 2, 2018, and voted to approve, adopt, and consent to the resolutions attached
hereto as Exhibit A and the actions set forth therein with respect to the Company and its equity
holders.



                                   [Signature page follows]




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                                   EXHIBIT A


                                   Resolution




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            RESOLUTIONS OF AEGEAN MARINE PETROLEUM NETWORK INC.

                                        November 2, 2018

        The undersigned, being all of the members of the board of directors or similar governing
body (the “Board”) of the above-listed company (the “Company”), in lieu of holding a meeting,
hereby approved the following actions and adopt the following resolutions (the “Resolutions”), by
written consent (this “Consent”) pursuant to the organizational documents of the Company:

1. RESTRUCTURING TRANSACTIONS AND DOCUMENTS

        WHEREAS, the Board has considered the liabilities and liquidity profile of the Company,
and the effect of the foregoing on the Company's business; and having considered each of the
strategic alternatives available to the Company;

            NOW, THEREFORE, BE IT:

       RESOLVED, that Kostas Polydakis, John Mystakidis, Spyros Fokas, and all duly
appointed officers of the Company, as well as any person to whom Kostas Polydakis, John
Mystakidis, Spyros Fokas, or any duly appointed officers of the Company delegate certain
responsibilities (collectively, the “Authorized Persons”), acting alone or with one or more other
Authorized Persons be, and hereby are, authorized and empowered to enter into, on behalf of the
Company, a restructuring transaction or series of restructuring transactions by which the Company
will    restructure      its     debt   obligations     or     other     liabilities  (collectively,
the “Restructuring Transactions”);

        RESOLVED, that each of the Authorized Persons, acting alone or with one or more other
Authorized Persons be, and hereby are, authorized and empowered to take, or cause to be taken,
any and all such other and further action, and to execute (under the common seal of the Company,
if appropriate), acknowledge, deliver, and file any and all such agreements, certificates,
instruments, and other documents in furtherance of the Restructuring Transactions to which the
Company is or will be a party (collectively, the “Restructuring Documents”), to incur and pay or
cause to be paid all fees and expenses and engage such persons, in each case, in the form or
substantially in the form thereof submitted to the Board, with such changes, additions and
modifications thereto as the Authorized Persons executing the same shall, in their absolute
discretion approve, such approval to be conclusively evidenced by such Authorized Person’s
execution and delivery thereof; and

        RESOLVED, that each of the Authorized Persons be, acting alone or with one or more
other Authorized Persons, and hereby are, authorized, directed and empowered in the name of, and
on behalf of, the Company to take any and all actions to (i) obtain approval by a court of competent
jurisdiction or any other regulatory or governmental entity of the Restructuring Documents in
connection with the Restructuring Transactions, and (ii) obtain approval by any court of competent
jurisdiction or any other regulatory or governmental entity of any Restructuring Transactions.

2. VOLUNTARY PETITION FOR RELIEF UNDER APPLICABLE BANKRUPTCY
   LAW AND SEEKING NECESSARY RELIEF


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         RESOLVED, that in the judgment of the Board it is desirable and in the best interest of the
Company, its interest holders, its creditors, and other parties in interest, that the Company file or
cause to be filed voluntary petitions for relief (the “Bankruptcy Petitions”) under the provisions of
chapter 11 of title 11 of the United States Code, 11 U.S.C. § 101 et seq. (as amended,
the “Bankruptcy Code”) for the Company and any of its subsidiaries, any applicable foreign
ancillary proceedings for the Company; and, in accordance with the requirements in the
Company’s governing documents and applicable law, hereby consents to, authorizes and approves,
the filing of the Bankruptcy Petitions and the foreign ancillary proceedings, if any; and

        RESOLVED, that each of the Authorized Persons, officers of the Company, and/or any
persons to whom such Authorized Persons and/or officers delegate certain responsibilities, be, and
hereby are, authorized to execute (under the common seal of the Company, if appropriate) and file
on behalf of the Company and its subsidiaries all petitions, schedules, lists, and other motions,
papers, or documents, and to take any and all action that they deem necessary or proper to obtain
such relief, including, but not limited to, any action necessary or proper to maintain the ordinary
course operations of the Company’s or any of its subsidiary’s businesses.

3. RETENTION OF PROFESSIONALS

       RESOLVED, that each of the Authorized Persons, be, and hereby are, authorized,
empowered and directed to employ: (i) the law firm of Kirkland & Ellis LLP as general bankruptcy
counsel, (ii) Moelis & Company as financial advisor, (iii) Ernst & Young LLP as restructuring
advisor, (iv) Epiq Bankruptcy Solutions, LLC as notice and claims agent, and (v) any other legal
counsel, accountants, financial advisors, restructuring advisors or other professionals the
Authorized Persons deem necessary, appropriate or advisable; each to represent and assist the
Company in carrying out its duties and responsibilities and exercising its rights under the
Bankruptcy Code and any applicable law (including, but not limited to, the law firms filing any
pleadings or responses); and in connection therewith, the Authorized Persons, be, and hereby are
authorized, empowered and directed, in accordance with the terms and conditions hereof, to
execute (under the common seal of the Company, if appropriate) appropriate retention agreements,
pay appropriate retainers, and to cause to be filed appropriate applications for authority to retain
such services; and

          RESOLVED, that each of the Authorized Persons, be, and hereby are, authorized,
empowered and directed to execute (under the common seal of the Company, if appropriate) and
file all petitions, schedules, motions, lists, applications, pleadings, and other papers, and to perform
such further actions and execute (under the common seal of the Company, if appropriate) such
further documentation that the Authorized Persons in their absolute discretion deem necessary,
appropriate or desirable in accordance with these resolutions.

4. DEBTOR-IN-POSSESSION FINANCING AND CASH COLLATERAL

       US DIP Financing Agreement

         RESOLVED, that to the extent applicable to the Company, in the judgment of the Board,
it is desirable and in the best interest of the Company, its interest holders, its creditors, and other
parties in interest, to obtain the benefits from the incurrence of debtor-in-possession financing


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obligations by and among Aegean Bunkering (USA) LLC, a Delaware limited liability company,
as Borrower, the various lenders from time to time party thereto (collectively, the “Lenders” and
each individually, a “Lender”), ABN AMRO Capital USA LLC, as Administrative Agent for the
Lenders (in such capacity, the “Administrative Agent”), and propose to enter into that certain
Super-Priority Secured Debtor-in-Possession Credit Agreement (the “U.S. DIP Financing
Agreement”), as documented in a proposed order in interim and final form (the “DIP Order”) and
submitted for approval to a court of competent jurisdiction;

         RESOLVED, that the form, terms and provisions of the U.S. DIP Financing Agreement
and each of the other U.S. DIP Financing Documents (as defined below), and the Company’s
incurrence and performance of its obligations under the U.S. DIP Financing Agreement and each
of the other U.S. DIP Financing Documents (as defined below), including (i) any borrowings
thereunder, (ii) any guarantees contemplated thereunder, (iii) the grant of security thereunder, and
(iv) the consummation of the transactions contemplated thereby, be, and hereby are, in all respects,
authorized and approved; and further resolved, that each of the Company’s Authorized Persons,
acting alone or with one or more Authorized Persons be, and hereby is, authorized and empowered
to execute and deliver, and to cause the Company to incur and perform its obligations under, the
U.S. DIP Financing Agreement and each of the instruments and documents listed below and all
other agreements, documents and instruments contemplated by any of the foregoing or requested
by the Administrative Agent in connection with any of the foregoing (together with the U.S. DIP
Financing Agreement, collectively, the “U.S. DIP Financing Documents”), and each of the
documents and instruments contemplated thereby, in the name and on behalf of the Company
under its seal or otherwise, substantially in the forms presented to the Board, with such changes
therein and modifications and amendments thereto as any Authorized Officer may in his or her
sole discretion approve, which approval shall be conclusively evidenced by his or her execution
thereof:

   (a)         the promissory notes executed in connection therewith, if any;

   (b)         the Security Documents;

   (c)         the Guaranty;

   (d)         the DIP Order;

   (e)         the Intercreditor Agreement (as defined in the U.S. DIP Financing Agreement (to
               which the Company will acknowledge));

   (f)         such other security agreements, pledge agreements, deeds of trust, mortgages,
               notices, financing statements, tax affidavits, and other instruments as the
               Administrative Agent may reasonably request or as may be necessary or
               appropriate to create, preserve and perfect the Liens purported to be required
               pursuant to the U.S. DIP Financing Documents to be created in the Collateral as
               collateral security for the payment of obligations, advances, debts or liabilities
               related to the Company’s obligations;




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   (g)         such agreements with third parties (including, without limitation, bank agency
               agreements, motor vehicle perfection agreements, lockbox agreements, blocked
               account agreements, control agreements, landlord agreements and warehouse
               letters) relating to the Collateral;

   (h)         the Loan Documents (as defined in the U.S. DIP Financing Agreement); and

   (i)         such other documents, agreements, instruments, certificates, notices, assignments
               and documents as may be reasonably requested by the Administrative Agent or
               required by the U.S. DIP Financing Agreement or any other U.S. DIP Financing
               Documents.

        RESOLVED, that the Company will receive value and obtain benefits from the incurrence
of the Loans by the Borrower and the other obligations under the U.S. DIP Financing Agreement
and the U.S. DIP Financing Documents which are necessary and convenient to the conduct,
promotion and attainment of the business of the Company.

        RESOLVED, that each of the Authorized Persons be, and hereby is, authorized and
empowered, in the name and on behalf of the Company, to grant a security interest in all of the
Company’s assets pursuant to the terms of the U.S. DIP Financing Documents, including, without
limitation, a pledge of all of the equity interests now owned or hereafter acquired by the Company
to the Administrative Agent, and all personal and real property of the Company now owned or
hereafter acquired by the Company, and the Administrative Agent is authorized to file or record
financing statements and other filing or recording documents or instruments with respect to the
Collateral without the signature of the Company in such form and in such offices as the
Administrative Agent or any Authorized Officer determines appropriate or necessary to perfect
the perfection of the security interests of the Administrative Agent under the U.S. DIP Financing
Agreement and the other U.S. DIP Financing Documents. Without limiting the generality of the
foregoing, the Administrative Agent is expressly authorized to use a collateral description that
encompasses “all assets” or “all personal property” of the Company, wheresoever located, whether
now owned and existing or hereafter acquired, together with all proceeds thereof or any similar all
assets description in any such financing statements or other filing or recording documents or
instruments.
        RESOLVED, that each of the Authorized Persons be, and hereby is, authorized and
empowered to execute and deliver any amendments, amendment and restatements, supplements,
modifications, renewals, extensions, replacements, consolidations, substitutions and extensions of
the U.S. DIP Financing Agreement and any of the U.S. DIP Financing Documents which shall in
their sole judgment be necessary, proper or advisable.
       RESOLVED, that all acts and actions taken by the Authorized Persons prior to the date
hereof with respect to the transactions contemplated by the U.S. DIP Financing Agreement and
any of the other U.S. DIP Financing Documents be, and hereby are, in all respects confirmed,
approved and ratified.
      The Amendment and Restatement Agreement or the Amended and Restated Facility
Agreement




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         RESOLVED, that to the extent applicable to the Company, in the judgment of the Board,
it is desirable and in the best interest of the Company, its interest holders, its creditors, and other
parties in interest, to obtain the benefits from the incurrence of debtor-in-possession financing
obligations by and among Aegean Marine Petroleum S.A., a corporation incorporated under the
laws of Liberia with registered office at 80 Broad Street, Monrovia, Republic of Liberia, Aegean
Petroleum International Inc., a corporation incorporated under the laws of the Marshall Islands
with registered office at Trust Company Complex, Ajeltake Road, Ajeltake Island, Majuro,
MH96960, Marshall Islands, Aegean NWE N.V., a limited liability company incorporated under
the laws of Belgium with registered office at Nijverheidsstraat 7, B-2960 Brecht, Belgium, Aegean
Bunkering German GmbH, a limited liability company incorporated under the laws of the Federal
Republic of Germany, having its business address at Holstenwall 5, 20355 Hamburg, Germany
which is registered in the commercial register (Handelsregister) kept at the local court
(Amtsgericht) of Kiel under registration number HRB 16326 KI, and OBAST Bunkering &
Trading GmbH, a limited liability company incorporated under the laws of the Federal Republic
of Germany, having its business address at Dalwitzhofer Weg 22 a, 18055 Rostock, Germany
which is registered in the commercial register (Handelsregister) kept at the local court
(Amtsgericht) of Rostock under registration number HRB 13560, collectively, as Borrowers, the
various lenders from time to time party thereto (collectively, the “Lenders” and each individually,
a “Lender”), ABN AMRO BANK N.V., as Facility Agent for the Lenders (in such capacity, the
“Facility Agent”), and propose to enter into an amendment and restatement agreement
(“Amendment and Restatement Agreement”) in relation to the borrowing base facility agreement
dated 30 November 2017 between, among others, the Borrowers, the Lenders and the Agent (such
agreement as amended by the Amendment and Restatement Agreement being the “Amended and
Restated Facility Agreement”) as a Guarantor, as documented in the DIP Order and submitted for
approval to a court of competent jurisdiction, or accede to the Amended and Restated Facility
Agreement as a Guarantor pursuant to the Accession Letter in the form of Schedule 9 (Form of
Accession Letter) of the Amended and Restated Facility Agreement;

         RESOLVED, that the form, terms and provisions of the Amendment and Restatement
Agreement or the Accession Letter (as applicable), and each of the other Global DIP Financing
Documents (as defined below), and the Company’s incurrence and performance of its obligations
under the Global DIP Financing Documents (as defined below), including (i) any borrowings
thereunder, (ii) any guarantees contemplated thereunder, (iii) the grant of security thereunder, and
(iv) the consummation of the transactions contemplated thereby, be, and hereby are, in all respects,
authorized and approved; and further resolved, that each of the Company’s Authorized Persons,
acting alone or with one or more Authorized Persons be, and hereby is, authorized and empowered
to execute and deliver, and to cause the Company to incur and perform its obligations under, the
Amendment and Restatement Agreement or the Accession Letter (as applicable), and each of the
instruments and documents listed below and all other agreements, documents and instruments
contemplated by any of the foregoing or requested by the Facility Agent in connection with any
of the foregoing (together with the Amendment and Restatement Agreement or the Accession
Letter (as applicable), collectively, the “Global DIP Financing Documents”), and each of the
documents and instruments contemplated thereby, in the name and on behalf of the Company
under its seal or otherwise, substantially in the forms presented to the Board, with such changes
therein and modifications and amendments thereto as any Authorized Officer may in his or her




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sole discretion approve, which approval shall be conclusively evidenced by his or her execution
thereof:

   (a)         the First Security Documents (as defined in the Amendment and Restatement
               Agreement) (to which the Company is or will be a party);

   (b)         the Second Security Documents (as defined in the Amendment and Restatement
               Agreement) (to which the Company is or will be a party);

   (c)         the Intercreditor Agreement (to which the Company will acknowledge);

   (d)         the DIP Order;

   (e)         such other security agreements, pledge agreements, deeds of trust, mortgages,
               notices, financing statements, tax affidavits, and other instruments as the Facility
               Agent may reasonably request or as may be necessary or appropriate to create,
               preserve and perfect the liens purported to be required pursuant to the Global DIP
               Financing Documents to be created in the Debtors’ Collateral (as defined in the
               Amendment and Restatement Agreement) as collateral security for the payment of
               obligations, advances, debts or liabilities related to the Company’s obligations;

   (f)         such agreements with third parties (including, without limitation, bank agency
               agreements, motor vehicle perfection agreements, lockbox agreements, blocked
               account agreements, control agreements, landlord agreements and warehouse
               letters) relating to the Debtors’ Collateral; and

   (g)         such other documents, agreements, instruments, certificates, notices, assignments
               and documents as may be reasonably requested by the Facility Agent or required
               by the Global DIP Financing Documents.

       RESOLVED, that the Company will receive value and obtain benefits from the incurrence
of the Loans by the Borrowers and the other obligations under the Global DIP Financing
Agreement and the Global DIP Financing Documents which are necessary and convenient to the
conduct, promotion and attainment of the business of the Company.

        RESOLVED, that each of the Authorized Persons be, and hereby is, authorized and
empowered, in the name and on behalf of the Company, to grant a security interest in all of the
Company’s assets pursuant to the terms of the Global DIP Financing Documents, including,
without limitation, a pledge of all of the equity interests now owned or hereafter acquired by the
Company to the Facility Agent, and all personal and real property of the Company now owned or
hereafter acquired by the Company, and the Facility Agent is authorized to file or record financing
statements and other filing or recording documents or instruments with respect to the Debtors’
Collateral without the signature of the Company in such form and in such offices as the Facility
Agent or any Authorized Officer determines appropriate or necessary to perfect the perfection of
the security interests of the Facility Agent under the Global DIP Financing Documents. Without
limiting the generality of the foregoing, the Facility Agent is expressly authorized to use a
collateral description that encompasses “all assets” or “all personal property” of the Company,
wheresoever located, whether now owned and existing or hereafter acquired, together with all


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proceeds thereof or any similar all assets description in any such financing statements or other
filing or recording documents or instruments.
       RESOLVED, that each of the Authorized Persons be, and hereby is, authorized and
empowered, on behalf of the Company to sign and/or dispatch all documents and notices to be
signed and/or dispatched by it under or in connection with the Global DIP Financing Documents.
       RESOLVED, that each of the Authorized Persons be, and hereby is, authorized and
empowered to execute and deliver any amendments, amendment and restatements, supplements,
modifications, renewals, extensions, replacements, consolidations, substitutions and extensions of
the Global DIP Financing Documents which shall in their sole judgment be necessary, proper or
advisable.
       RESOLVED, that all acts and actions taken by the Authorized Persons prior to the date
hereof with respect to the transactions contemplated by the Global DIP Financing Documents be,
and hereby are, in all respects confirmed, approved and ratified.
      RESOLVED, that Aegean Marine Petroleum S.A. be, and hereby is, appointed to act as
the Company’s agent in connection with the Global DIP Financing Documents.
       Other
        RESOLVED, that the form, terms, and provisions of the DIP Order to which the Company
is or will be subject, and the actions and transactions contemplated thereby be, and hereby are
authorized, adopted, and approved, and each of the Authorized Persons be, and hereby is,
authorized and empowered, in the name of and on behalf of the Company, to take such actions and
negotiate or cause to be prepared and negotiated and to execute, deliver, perform, and cause the
performance of, the DIP Order, and such other agreements, certificates, instruments, receipts,
petitions, motions, or other papers or documents to which the Company is or will be a party,
including, but not limited to, any security and pledge agreement or guaranty agreement
(collectively with the DIP Order, the “DIP Documents”), incur and pay or cause to be paid all fees
and expenses and engage such persons, in each case, as such Authorized Person shall in his or her
judgment determine to be necessary or appropriate to consummate the transactions contemplated
by the DIP Documents, which determination shall be conclusively evidenced by such officers’
execution and delivery thereof;

        RESOLVED, that the Company, as debtor and debtor in possession under the Bankruptcy
Code be, and hereby is, authorized to incur the Adequate Protection Obligations (as defined below)
and to undertake any and all related transactions on substantially the same terms as contemplated
under the DIP Documents (collectively, the “DIP Transactions”), including granting liens on its
assets to secure such obligations;

        RESOLVED, that each of the Authorized Persons be, and hereby are, authorized, directed,
and empowered in the name of, and on behalf of, the Company to take all such further actions,
including, without limitation, to pay or approve the payment of all fees and expenses payable in
connection with the DIP Transactions and all fees and expenses incurred by or on behalf of the
Company in connection with the foregoing resolutions, in accordance with the terms of the U.S.
DIP Financing Documents and Global DIP Financing Documents, as applicable, which shall in
their sole judgment be necessary, proper, or advisable to perform the Company’s obligations under
or in connection with the DIP Order or any of the other U.S. DIP Financing Documents and Global


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DIP Financing Documents and the transactions contemplated therein and to carry out fully the
intent of the foregoing resolutions;

         RESOLVED, that to the extent applicable to the Company, in the judgment of the Board,
it is desirable and in the best interest of the Company, its interest holders, its creditors, and other
parties in interest, to obtain the benefits from the use of cash collateral (the “Cash Collateral,” as
such term is defined in section 363(a) of the Bankruptcy Code), which is security for certain of the
Company’s prepetition secured lenders under certain credit facilities by and among the Company,
the guarantors party thereto, and the lenders party thereto (the “Prepetition Secured Lenders”);

        RESOLVED, that to the extent applicable to the Company, the Authorized Persons be, and
hereby are, authorized, directed and empowered in the name of, and on behalf of, the Company to
seek approval of the use of cash collateral pursuant to a cash collateral order in interim and final
form (a “Cash Collateral Order”), and, to the extent applicable to the Company, any Authorized
Person be, and hereby is, authorized, empowered, and directed to negotiate, execute (under the
common seal of the Company, if appropriate), and deliver any and all agreements, instruments, or
documents, by or on behalf of the Company, necessary or advisable to implement the Cash
Collateral Order, including providing for adequate protection to the Prepetition Secured Lenders
in accordance with section 363 of the Bankruptcy Code, as well as any additional or further
agreements for the use of cash collateral in connection with the Company’s chapter 11 cases, which
agreement(s) may require the Company to grant adequate protection and security interests to the
Prepetition Secured Lenders and each other agreement, instrument, or document to be executed
and delivered in connection therewith, by or on behalf of the Company pursuant thereto or in
connection therewith, all with such changes therein and additions thereto as any Authorized Person
in his absolute discretion approves, such approval to be conclusively evidenced by the taking of
such action or by the execution and delivery thereof;

        RESOLVED, that each of the Authorized Persons be, and hereby are, authorized, directed,
and empowered in the name of, and on behalf of, the Company to execute (under the common seal
of the Company, if appropriate) and deliver any amendments, supplements, modifications,
renewals, replacements, consolidations, substitutions, and extensions of the Cash Collateral Order
or to do such other things which shall in his/her absolute discretion be necessary, desirable, proper,
or advisable to give effect to the foregoing resolutions, which determination shall be conclusively
evidenced by his or their execution thereof; and

        RESOLVED, that in order to use and obtain the benefits of (a) the U.S. DIP Financing, (b)
the Global DIP Financing and (b) the use of Cash Collateral, and in accordance with section 363
of the Bankruptcy Code, the Company will provide certain adequate protection to the Company’s
Prepetition Secured Lenders (the “Adequate Protection Obligations”), as documented in the DIP
Order.

       RESOLVED, that the capitalized terms used in the resolutions under the caption
“DEBTOR-IN-POSSESSION FINANCING AND CASH COLLATERAL” and not otherwise
defined herein shall have the meanings ascribed to such terms in the respective U.S. DIP Financing
Agreement and/or Amended and Restatement Agreement.




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5. ENTRY INTO STALKING HORSE ASSET PURCHASE AGREEMENT AND
   APPROVAL OF MARKETING PROCESS

        WHEREAS, Mercuria Energy Group Limited (“Mercuria”) has provided the Company
with an indication of interest with respect to Mercuria’s proposed purchase, from the Company
and certain of its subsidiaries, of certain assets used in the marketing and supplying of marine fuel
and lubricants to vessels in port, at sea and on rivers and equity in certain subsidiaries engaged in
the foregoing (collectively referred to as the “Business”). Mercuria and the Company have
negotiated an asset purchase agreement to govern the terms of Mercuria’s purchase of the Business
(the “APA”), subject to the Company’s receipt of a higher or otherwise better offer and a robust
“fiduciary out”;
        WHEREAS, the sale of the Business is subject to the Company filing a motion with the
Bankruptcy Court (the “Motion”), seeking, among other things, approval of (i) an auction process
(the “Auction”) that will govern the marketing of the Business to Mercuria or another bidder with
the highest or otherwise best offer (such bidder, the “Successful Bidder”) and (ii) Mercuria as the
stalking horse bidder and certain related bid protections; and
        WHEREAS, the Board of the Company reviewed the materials presented by management
and the advisors of the Company to the Board at meetings that have been held on these
Resolutions. The Board has had the opportunity to consult with management and the advisors of
the Company and fully consider the APA and the Auction contemplated by the Motion as well as
certain alternatives available to the Company regarding the Business.
         NOW, THEREFORE, BE IT RESOLVED, that the Company is authorized to enter into
the APA with Mercuria for the sale of the Business and to undertake any and all related transactions
contemplated thereby, including the Auction and the bid protections, on the terms contained
therein or on such other terms and conditions as the officers of the Company, or any of them, in
their, his or her sole discretion, determine to be necessary, appropriate or desirable;
      RESOLVED, that each of the Authorized Persons be, and hereby are, authorized,
empowered and directed to execute and file, on behalf of the Company, the Motion with the
Bankruptcy Court; and
        RESOLVED, that each of the Authorized Persons be, and hereby are, authorized,
empowered and directed to conduct the Auction as approved by the Bankruptcy Court pursuant to
the Motion and to negotiate, for and on behalf of the Company, such agreements, documents,
assignments and instruments as may be necessary, appropriate or desirable in connection with the
sale of the Business to Mercuria or the Successful Bidder.
6. FURTHER ACTIONS AND PRIOR ACTIONS

        RESOLVED, that the Company is hereby authorized to authorize (and the Company
hereby authorizes and directs) any direct or indirect subsidiary of the Company or any entity of
which the Company or any subsidiary of such Company is the sole member, general partner,
managing member, or equivalent manager, as applicable, to take each of the actions described in
these resolutions or any of the actions authorized in these resolutions, and none of the resolutions
contained herein, or action taken in furtherance hereto, shall have or cause an adverse effect on
any such subsidiary or the Company’s interest therein (including without limitation, any automatic
dissolution, divestiture, dissociation, or like event under applicable law);


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        RESOLVED, that in addition to the specific authorizations heretofore conferred upon the
Authorized Persons, the Authorized Persons, either individually or as otherwise required by the
Company’s governing documents and applicable law, be, and each of them hereby is, authorized
to execute (under hand or under the common seal of the Company if appropriate), acknowledge,
deliver, and file any and all agreements, certificates, instruments, powers of attorney, letters,
forms, transfer, deeds and other documents on behalf of the Company relating to the Bankruptcy
Petitions or the Restructuring Documents;

        RESOLVED, that each of the Authorized Persons be, and hereby is, authorized and
empowered, in the name of and on behalf of the Company, to take or cause to be taken any all such
other and further action, and to execute (under the common seal of the Company, if appropriate),
acknowledge, deliver, and file any and all such agreements, certificates, instruments, and other
documents and to pay all expenses, including but not limited to filing fees, in each case as in such
Authorized Person’s or Authorized Persons’ absolute discretion, shall be necessary, appropriate,
or desirable in order to fully carry out the intent and accomplish the purposes of the resolution
adopted herein; The Board has received sufficient notice of the actions and transactions relating to
the matters contemplated by the foregoing resolutions, as may be required by the governing
documents of the Company, or hereby waives any right to have received such notice;

        RESOLVED, that all acts, actions, and transactions relating to the matters contemplated
by the foregoing Resolutions done in the name of and on behalf of the Company, which acts would
have been approved by the foregoing Resolutions except that such acts were taken before the
adoption of these Resolutions, are hereby in all respects approved, confirmed and ratified as the
true acts and deeds of the Company with the same force and effect as if each such act, transaction,
agreement, or certificate had been specifically authorized in advance by resolution of the Board,
as applicable; and

        RESOLVED, that any Authorized Person be, and each of them hereby is, authorized to do
all such other acts, deeds and other things as the Company itself may lawfully do, in accordance
with its governing documents and applicable law, howsoever arising in connection with the matters
above, or in furtherance of the intentions expressed in the foregoing resolutions, including, but not
limited to, the negotiation, finalization, execution (under hand or common seal, whether or not
expressed to be a deed, as may be necessary or appropriate) and delivery of any other agreements,
certificates, instruments, powers of attorney, letters, forms, transfer, deeds and other documents
whatsoever as the individual acting may in his/her absolute and unfettered discretion approve,
deem or determine necessary, appropriate or advisable, such approval, deeming or determination
to be conclusively evidenced by said individual taking such action or the execution thereof.




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                            )
     In re:                                                 )       Chapter 11
                                                            )
     AEGEAN MARINE PETROLEUM NETWORK                        )       Case No. 18-___________(___)
     INC.,                                                  )
                                                            )
                               Debtor.                      )
                                                            )

                                     LIST OF EQUITY SECURITY HOLDERS1

              Debtor                 Equity Holders               Address of Equity Holder         Percentage of
                                                                                                    Equity Held2
                                 Mercuria Asset                 Jumeirah Lake Towers Unit n°
                                 Holdings Hong                  Almas 63-a-1 Almas Tower -
                                 Kong                           Plot n° JLT PH1-A0
                                                                Dubai UAE                              30.00%
                                 Shah Capital                   8601 Six Forks Road, Suite 630
                                 Management Inc.                Raleigh, NC 27615                      10.26%
                                 Peter C. Georgiopoulos         [REDACTED]                             9.314%
                                 RBM Holdings LLC               2000 Morris Avenue,
                                                                Suite 1200
                                                                Birmingham, AL 35203                   3.105%
                                 Schneider Capital              460 East Swedesford Road,
     Aegean Marine               Management Corp.               Suite 2000
     Petroleum Network Inc.                                     Wayne, PA 19087                        2.752%
                                 B. Riley Capital               299 Park Avenue, 7th Floor
                                 Management, LLC                New York, NY 10171                     2.042%
                                 Global X Management            101 E 52nd St
                                 Co LLC                         New York, NY 10022                     1.651%
                                 Owl Creek Asset                640 Fifth Avenue, 20th Fl
                                 Management, L.P.               New York, NY 10019-6102                1.598%
                                 Lombard Odier Darier
                                                                452 Fifth Ave, 25th Fl
                                 Hentsch & Cie Asset
                                                                New York, NY 10018
                                 Management USA                                                        1.349%
                                 Arrowstreet Capital LP         200 Clarendon St, 30th Fl
                                                                Boston, MA 02116                       1.275%



 1      This list serves as the disclosure required to be made by the debtor pursuant to rule 1007 of the Federal
        Rules of Bankruptcy Procedure. All equity positions listed are as of the date of commencement of the
        chapter 11 case. By the Debtors’ Motion for Entry of an Order (I) Extending Time to (A) File Schedules of
        Assets and Liabilities, (B) Schedules of Current Income and Expenditures, (C) Schedules of Executory Contracts
        and Unexpired Leases, (D) Statements of Financial Affairs, and (E) Rule 2015.3 Financial Reports, (II) Waiving
        the Requirement to File a List of Equity Security Holders, and (III) Granting Related Relief filed
        contemporaneously herewith, the debtor is requesting a waiver of the requirement under rule 1007 to
        file a list of all of its equity security holders.

 2      This list serves as the disclosure required to be made by the debtor pursuant to rule 1007 of the Federal
        Rules of Bankruptcy Procedure. All equity positions listed are correct as of October 29, 2018.
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                      )
 In re:                                               )    Chapter 11
                                                      )
 AEGEAN MARINE PETROLEUM NETWORK                      )    Case No. 18-___________(___)
 INC.,                                                )
                                                      )
                          Debtor.                     )
                                                      )

                                    CORPORATE OWNERSHIP STATEMENT

         Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

                     Shareholder                            Approximate Percentage of Shares Held

 Mercuria Asset Holdings Hong Kong                                            30.00%
 Shah Capital Management Inc.                                                 10.26%
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    Fill in this information to identify the case and this filing:

   Debtor Name          Aegean Marine Petroleum Network Inc.

   United States Bankruptcy Court for the:                Southern District of New York
                                                                                                  (State)
   Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration List of Equity Security Holders, Corporate Ownership Statement



    I declare under penalty of perjury that the foregoing is true and correct.

     Executed on
                                                                                 /s/ Spyridon Fokas
                                        11/06/2018
                                        MM/ DD/YYYY                              Signature of individual signing on behalf of debtor
                                                                                 Spyridon Fokas
                                                                                 Printed name
                                                                                 Authorized Signatory
                                                                                 Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
